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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

      Caption in Compliance with D.N.J. LBR 9004-2(c)
     STEPHEN M. PACKMAN (SP1589)
     ARCHER & GREINER
     A Professional Corporation
     One Centennial Square
     Haddonfield, NJ 08033-0968
     Tel: (856) 795-2121
     Fax: (856) 795-0574
     Local Counsel for Roger Frankel, as the Future
     Claimants’ Representative in the Cyprus
     Mines Chapter 11 Case

     In Re:                                                    Case No. 21-30589 (MBK)

     LTL MANAGEMENT LLC,1                                      Chapter 7

                                   Debtor.                     Hon. Michael B. Kaplan


                                         NOTICE OF APPEARANCE
                                   AND DEMAND FOR NOTICES AND PAPERS

                       PLEASE TAKE NOTICE that ARCHER & GREINER, P.C. appear as local

 counsel for ROGER FRANKEL, AS THE FUTURE CLAIMANTS’ REPRESENTATIVE IN

 THE CYPRUS MINES CHAPTER 11 CASE (the “FCR”), pursuant to Rules 2002, 3017(a), 9007,

 9019(b), 9013 and 9027 of the Federal Rules of Bankruptcy Procedure and section 1109(b) of Title

 11 of the United States Code, and request that all notices be given to and served upon:

                                              ARCHER & GREINER, P.C.
                                               Stephen M. Packman, Esq.
                                                 One Centennial Square
                                              Haddonfield, NJ 08033-0968
                                               Telephone: (856) 795-2121
                                               spackman@archerlaw.com
                                         Local Counsel to Roger Frankel, as the
                                         Future Claimants’ Representative in the
                                             Cyprus Mines Chapter 11 Case



 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.
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                PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only

 the notices and papers referred to in the rules specified above but also includes, without limitation,

 orders and notices of any application, motion, petition, pleading, request, complaint or demand,

 whether formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

 personal delivery, telephone, e-mail or otherwise, which affect the FCR and/or the above-

 captioned Debtor or its property.

                PLEASE TAKE FURTHER NOTICE that demand is also made that the FCR and

 the undersigned be added to the notice list of all contested matters, adversary proceedings, and

 other proceedings in the above-captioned case.

                PLEASE TAKE FURTHER NOTICE that neither this notice nor any later

 appearance, pleading, claim, or suit shall be construed to waive (a) any right (1) to have final orders

 in non-core matters entered only after de novo review by a District Judge, (2) to trial by jury in

 any proceeding so triable in these case or any case, controversy, or proceeding related to this case,

 or (3) to have the District Court withdraw the reference in any matter subject to mandatory or

 discretionary withdrawal, or (b) any other rights, claims, actions, defenses, setoffs or recoupments

 whether under agreements, in law or in equity or otherwise, all of which are expressly reserved.

                                                ARCHER & GREINER, P.C.
                                                Local Counsel for Roger Frankel, as the Future
                                                Claimants’ Representative in the Cyprus
                                                Mines Chapter 11 Case


                                                By:     /s/ Stephen M. Packman
                                                        Stephen M. Packman
 Dated: December 3, 2021




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